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SEARCH WARRANT

 

  

THE STATE OF TEXAS § Google, Ine.

 
  

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COUNTY OF BEXAR § 1600 Amphitheatre Parkway, Mountain VIPRERRONS > 2%
you A 7 e % : tf,

THE STATE OF TEXAS to the Sheriff or any Peace Officer of Bexar Coit, Sad OX

any Peace Officer of the State of Texas, ee get £
re : Ns : rod

GREETING: RENEE

WHEREAS, the Affiant whose name appears on the attached affidavit is a Peace Officer

under the laws of Texas and did heretofore this day subscribe and swear to said Affidavit before

me (which said Affidavit is here now made part hereof for all purposes), and whereas I find that

the veritied facts stated by Affiant in said Affidavit show that Affiant has probable cause for the

belief expressed therein and establish existence of proper grounds for issuance of this Warrant

for the offense of Obstruction or Retaliation (TX Penal Code 36.06) ; now, therefore you are

commanded to enter the suspected place described in said Affidavit; Google, Inc. and to there

search for the personal property described in said Affidavit and to seize same, to include;

 

    

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With Regards to the below listed account;

. subscriber registration information.

. al] screen names associated with this account,

. user names associated with this account,

4, passwords associated with this account

5, email(s) associated with this account,

6. all IP addresses / logs associated with this account,

7, any and all messages / comments sent or received by the individual account,
8, credit card information (if available),
9
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. Sign-in IP addresses and associated time stamps,

0. video and photo upload IP addresses and associated time stainps,

1. copies of any and all videos and photos and associated video/photo information,
12, email content, and
13. any other user account associated data stored,

including the subject line and date/time stamps of all data, if available.

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With Regards to the below listed account;

Screen Name: OHIO GUARDIAN 2.0

Associated URL: https:/Awww. youtube. com/channel/UCrh20NFHC-cY2NYeyBCc9eA
Seiieved fo be associated with Jonathan Green

. Subscriber registration information,

. all screen names associated with this account,

. uSef Names associated with this account,

- passwords associated with this account

. email{s) associated with this account,

. all IP addresses / logs associated with this account,

- any and all messages / comments sent ot received by the individual account,
. credit card information (if available),

9. sign-in IP addresses and associated time stamps,

10. video and photo upload IP addresses and associated time stamps,

IL. copies of any and all videos and photos and associated video/photo information,
12. email content, and

13. any other user account associated data stored,

 

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including the subject line and date/time stamps of ail data, if available.

With Regards to the below listed account;

 

1. subscriber registration information,

2. all screen names associated with this account,

3, user names associated with this account,

4. passwords associated with this account

5. email(s) associated with this account,

6. all IP addresses / logs associated with this account,

7, any and all messages / comments sent or received by the individual accouni,
8. credit card information (if available),

9. sign-in IP addresses and associated time Stamps,
10, video and photo upload IP addresses and associated time stamps,

11, copies of any and all videos and photos and associated video/photo information,
12. email content, and

13. any other user account associated data stored,

including the subject line and date/time stamps of all data, if available.

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With Regards to the below listed account;

Screen Name: BUCKEYE IN THE Sky NEWS
Associated URL: https://www. youtube.com/channel/UC3XIdNSo0Qy0I5_iYyMhiJw
believed fo be associated with Jason Green

. subscriber registration information,

. all screen names associated with this account,

. "ser names associated with this account,

. passwords associated with this account

. email{s) associated with this account,

. all IP addresses / logs associated with this account,

any and all messages / comments sent or received by the individual account,
. credit card information Cf available),

. Sign-in IP addresses and associated time stanips,

10. video and photo upload IP addresses and associated time stamps,

Ll. copies of any and all videos and photos and associated video/photo information,
{2. email content, and

13. any other user account associated data stored,

 

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including the subject line and date/time stamps of all data, if available.

Further, you are ORDERED, pursuant to the provisions of Article 18.10, Texas Code of
Criminal Procedure, to retain custody of any property seized pursuant to this Warrant, until
further order of this Court or any other court of appropriate jurisdiction shall otherwise direct the
manner of safekeeping of said property. This Court grants you leave and authority to remove
such seized property from this county, if and only if such removal is necessary for the
safekeeping of such seized property by you, or if such removal is otherwise authorized by the
provisions of Article 18.10, T.C.C.P. You are further ORDERED to give notice to this Court, as
a part of the inventory to be filed subsequent to the execution of this Warrant, and as required by
Article 18.10, T.C.C.P., of the place where the property seized hereunder is kept, stored and held.

HEREIN FAIL NOT, but have you then and there this Warrant within three days,
exclusive of the day of its issuance and exclusive of the day of its execution, with your return
thereon, showing how you have executed the same, filed in this court.

__ISSUED rms tae / day ot AVEUST

2018, at
g SS ~ __o’clock P™M. TO certify which witness my 4

i this day.

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COURT

BEXAR COUNTY, TEXAS

 

 
     
 

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